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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Tran Ngoc Dung, et al. v. § MAG. JUDGE SHUSHAN
BP America, Inc., et al §

EDLA No. 10-3178 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT I§ HEREBY ORDERED that Plaintiffs’ TONY NGUYEN, TIFFANY TRAN,
HIEU VO and CLIVE DOAN'S Motion for Leave of Court to Voluntarily Dismiss Claims
Without Prejudice is hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs TONY NGUYEN,
TIFFANY TRAN, HIEU VO and CLIVE DOAN only, as listed on Exhibit “A” attached to
said Motion are hereby dismissed without prejudice. This Order in no way affects the
claims of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
